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     S.P.W., by and through her Guardian ad Litem
 7   Miesha Singleton,
 8
                                        UNITED STATES DISTRICT COURT
 9
                                      NORTHERN DISTRICT OF CALIFORNIA
10
      S.P.W., by and through her Guardian ad Litem       Case No. 3:17-cv-06884-SK
11    Miesha Singleton,
                                                         AMENDED JOINT CASE MANAGEMENT
12                 Plaintiff,                            STATEMENT OF PLAINTIFF S.P.W. BY AND
                                                         THROUGH HER GUARDIAN AD LITEM
13                    vs.                                MIESHA SINGLETON AND DEFENDANT
                                                         ANTHONY MARTINELLI
14    CITY OF OAKLAND, a municipal
      corporation; ANTHONY MARTINELLI,
15    individually and in his official capacity as an    Hearing Date:          June 4, 2018
      officer for the Oakland Police Department; and     Time:                  1:30 p.m.
16    DOES 1-50, inclusive, individually and in their    Place:                 Courtroom A, 15th Floor
      official capacity as police officers for the                              450 Golden Gate Ave.
17    Oakland Police Department,                                                San Francisco CA 94102
18                Defendants.                            Trial Date:            TBD
19

20

21            Plaintiff, S.P.W., Defendant Anthony Martinelli hereby submit this CASE MANAGEMENT
22   STATEMENT & PROPOSED ORDER pursuant to the Standing Order for All Judges of the Northern
23   District of California dated November 1, 2014, Civil Local Rule 16-9, and this Court’s Civil Standing
24   Order.
25                   1.         Jurisdiction & Service

26            Plaintiff’s complaint invokes federal question jurisdiction by suing for damages under 42
27   U.S.C. § 1983, alleging violation of her Fourth amendment rights under the federal constitution.
28   Anthony Martinelli has been served.
      JOINT CMC STATEMENT                                 1
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 1          Defendant agrees that the Court has subject matter jurisdiction over Plaintiffs’ 42 U.S.C.

 2   § 1983 claims in this action pursuant to 28 U.S.C. § 1331 and 1343(a)(3)-(4). There are no issues

 3   regarding personal jurisdiction or venue and all known parties have been served.

 4                  1.      Facts
                            a.    Plaintiff’s Facts
 5
            On November 16, 2016 at approximately 3:40 p.m., Plaintiff was sitting in her mother’s car
 6
     outside of their residence near E. Street located in Oakland, CA. after returning from an outing with
 7
     her mother. Several Oakland Police Department Officers were already present at the home, including,
 8
     Defendant Martinelli. At the time, the officers were investigating a shooting. A female officer first
 9
     approached Plaintiff and allowed Plaintiff to remain in the car to care for her infant brother.
10
            The officers on the scene then successfully apprehended the shooting suspect without incident.
11
            All of a sudden, in contradiction to previous instructions, Defendant Martinelli confronted
12
     Plaintiff and demanded that she step out of the car. Plaintiff attempted to explain to Defendant
13
     Martinelli that she was unable to immediately do so because she was concerned about the well-being
14
     of her infant brother due to the cold weather and the fact that she was in the middle of feeding him.
15
     Without warning, Defendant Martinelli forcefully yanked Plaintiff out of the car. While an
16
     unidentified officer handcuffed Plaintiff, she questioned the Officer’s actions. Due to Plaintiff’s
17
     questions and in violation of the First Amendment, Defendant Martinelli brutally punched Plaintiff in
18
     the face.
19
            Subsequently, Plaintiff was maliciously cited with a violation of section 148(a)(1) of the Penal
20
     Code of California. There was never probable cause to believe that Plaintiff unlawfully resisted,
21
     delayed, and/or obstructed the performance of the officers’ duties as peace officers. Further, there was
22
     never probable cause to assert that Plaintiff attacked Defendant Martinelli.
23
            Plaintiff was an unarmed and innocent actor who never posed a threat to anyone throughout the
24
     incident. Plaintiff was cited with a violation of section 148(a)(1) in an attempt to cover up and/or
25
     justify the excessive amount of force that was used against her. The unjustified criminal citation
26
     terminated in Plaintiff’s favor.
27

28
      JOINT CMC STATEMENT                                  2
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 1          As a result of Defendant Martinelli’s use of excessive force, Plaintiff suffered from bruises and

 2   a swollen face. Plaintiff was further wrongfully cited with a violation of section 148(a)(1) and

 3   unlawfully arrested. Plaintiff also suffered extreme psychological distress and injury as a result of

 4   Defendant Martinelli’s senseless conduct. Plaintiff suffered and still suffers symptoms including but

 5   not limited to fear, trauma, anxiety, stress, depression, humiliation, and emotional distress as a result

 6   of the incident.

 7                          b.      Defendant’s Facts

 8          On November 16, 2016, the City of Oakland Police Department (“OPD”) was investigating a

 9   shooting where a man was shot in the chest. The victim reported to OPD officers that he was shot by

10   “Shaun Williams” while standing on the driveway of 8715 E St at about 3:45 p.m. OPD officers

11   responded to 8715 E St., where Williams resided.

12          At the time that OPD officers began to secure 8715 E St., Miesha Singleton pulled up to the

13   residence in a white Honda. Plaintiff S.P.W. was a passenger in the white Honda, which was

14   registered to Shaun Williams Sr. Singleton informed OPD officers that her husband, Shaun Williams

15   Sr., and her son, Shaun Williams Jr., were inside the residence. Despite OPD officer’s warnings to not

16   enter the residence, Singleton entered anyway.

17          While Williams Sr. exited the residence, OPD officers attempted to detain Williams and secure

18   the area. OPD officers were placing Williams Sr. under arrest outside the residence when Defendant

19   Officer Martinelli approached S.P.W., who was still in the white Honda in front of the residence.

20   Williams Jr. was still inside the residence. S.P.W. refused to comply with orders to exit the car and

21   leave the area. Officer Martinelli attempted to pull S.P.W. out of the car but S.P.W. physically

22   resisted. Officer Martinelli struck S.P.W. with an open hand to distract and detain S.P.W. After

23   S.P.W. was placed in a patrol vehicle, Singleton and Williams Jr. were also eventually detained.

24

25                          c. Principle Factual Disputes

26          The parties have conducted no discovery to date. The following factual disputes are based

27   upon the parties’ pleadings and initial meet and confer, and will likely change as a result of further

28   discovery and investigation.
      JOINT CMC STATEMENT                                  3
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 1          a.        Whether the officers involved in Plaintiff's arrest used excessive force; and

 2          b.        Whether, and to what extent, Plaintiff was injured and/or damaged.

 3                    2.     Legal Issues

 4          a.        Whether there was probable cause to arrest Plaintiff;

 5          b.        Whether there was reasonable suspicion to detain Plaintiff;

 6          c.        Whether the force used by the arresting officers was reasonable;

 7          d.        Whether Defendant caused Plaintiff to suffer damages;

 8          e.        Whether defendants used any threats, intimidation or coercion beyond that which is

 9   inherent in a detention. See Venegas v. County of Los Angeles, 32 Cal.4th 820 (Cal. 2004), Shoyoye v.

10   County of Los Angeles, 203 Cal.App.4th 947 (Ct.App. 2012), and Bender v. County of Los Angeles,

11   217 Cal.App.4th 968 (Ct. App. 2013);

12          f.        Whether Plaintiff has properly alleged a negligence claim;

13          g.        Whether Defendants owed a duty to Plaintiff, and, if they owed a duty, whether they

14   breached that duty (or those duties); and

15          h.        Whether Defendants are entitled to qualified immunity and/or are otherwise immune.

16          i.        Whether Plaintiff was exercising her First Amendment Rights at the time of the

17   incident.

18                    3.     Motions

19          There are no pending motions. Defendant anticipates filing motions for summary

20   judgment/adjudication based on sufficienty of the evidence, qualified immunity, and other privileges

21   or immunities.

22                    4.     Amendment of Pleadings

23          The parties do not anticipate amending their pleadings. The parties request that the Court

24   provide a deadline by which any amendments must be made.

25                    5.     Evidence Preservation

26          The parties are aware of their obligations to preserve evidence, and are gathering relevant

27   documents and information.

28
      JOINT CMC STATEMENT                                   4
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                     6.        Disclosures
 1
            The parties have not served initial disclosures.
 2
                     7.        Discovery
 3
            The parties agree to the discovery limits in the Federal Rules of Civil Procedure. Parties
 4
     addresses the subjects contained in Rule 26(f) as follows:
 5
            (a)      Changes to Initial Disclosure Requirements: The parties do not contemplate any
 6
     changes in the form or requirement for initial disclosures.
 7
             (b)     The parties are unaware of any electronic discovery issues.
 8
            (c)      The parties currently do not contemplate any issues concerning claims of privilege or of
 9
     protection as trial-preparation material, except that the parties agreed to enter into a protective order.
10
            (d)      See (b)
11
            (e)      n/a
12
                     8.        Class Action
13
            Not applicable.
14
                     9.        Related Cases
15
            Not applicable.
16
                     10.       Relief
17
            Plaintiff seeks special, general, and punitive damages according to proof; for damages,
18
     penalties, costs, interest, and attorney’s fees allowed by California and federal law; for such further
19
     relief as the Court deems just and proper.
20
            Defendants seek a finding of no liability and an award of costs.
21
                     11.       Settlement & ADR
22
            The parties have agreed to conduct an early settlement conference with a Magistrate.
23
                     12.       Consent to Magistrate Judge For All Purposes
24

25          The parties have consented to the jurisdiction of a magistrate judge.
                     13.       Other References
26

27          The parties do not believe this case is suitable for reference to binding arbitration, a special

28   master, or the Judicial Panel on Multidistrict Litigation.
      JOINT CMC STATEMENT                                   5
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 1                    14.   Narrowing of Issues

 2          The issues may be narrowed or disposed of by future motions for summary judgment and/or
 3   adjudication. The parties do not currently have suggestions for expediting presentation of evidence at
 4   trial, but will reconsider after the case becomes more defined as it approaches trial.
 5                    15.   Expedited Trial Procedure

 6          The parties do not believe an expedited schedule is appropriate.
 7                  16.   Scheduling
            Plaintiff proposes the following schedule:
 8

 9            Activity                                           Proposed Date

10            Fact Discovery cutoff                              January 31, 2019

11            Expert Disclosures                                 February 1, 2019

12            Rebuttal Expert Disclosure                         February 25, 2019

13            Expert Discovery Cutoff                            March 7, 2019

14            Last Day for Hearing Dispositive                   March 7, 2019

15    Motions

16            Pre-Trial Conference                               May 3, 2019

17            Trial                                              May 21, 2019
18                    17.   Trial

19          The parties request a trial by jury. The parties expect the trial will last 5-7 days.
20                    18.   Disclosure of Non-party Interested Entities or Persons

21          Plaintiff has not filed a Certification of Interested Entities or Persons under Civil Local Rule 3-
22   16.
23                    19.   Professional Conduct
24          All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct
25   for the Northern District of California.
26

27

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      JOINT CMC STATEMENT                                  6
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     Dated: June 1, 2018
 1
                                       LAW OFFICES OF JOHN BURRIS
 2

 3
                                       By:. K. Chike Odiwe____________________
 4                                        K. CHIKE ODIWE, ESQ.

 5                                        Attorneys for Plaintiff
                                          S.P.W.
 6
     Dated: June 1, 2018
 7
                                          OFFICE OF OAKLAND CITY ATTORNEY
 8                                        CHRISTINA LUM
                                          Deputy City Attorney
 9

10                                     By:/s/ Christina Lum
                                          CHRISTINA LUM, ESQ.
11
                                          Attorney(s) for Defendant
12                                        ANTHONY MARTINELLI

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